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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

           UNITED STATES OF AMERICA :
                                    :
                    v.              :                     CRIMINAL ACTION FILE
                                    :
           NIGEL EDWARDS,           :                     NO. 1:10-CR-521-07-TCB/AJB
                                    :
                        Defendant.  :

                                    ORDER FOR SERVICE OF
                                 REPORT AND RECOMMENDATION

                 Attached is the Report and Recommendation (“R&R”) of the United States

           Magistrate Judge made in accordance with 28 U.S.C. § 636(b)(1) and

           N.D. Ga. CrR. 58.1(A)(3)(a), (b). Let the same be filed and a copy of the R&R,

           together with a copy of this Order, shall be served upon counsel for the parties.

                 Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections to the

           R&R within fourteen (14) days of service of this Order. Should objections be filed,

           they shall specify with particularity the alleged error(s) made (including reference by

           page number to the transcript if applicable) and be served upon the opposing party. See

           United States v. Gaddy, 894 F.2d 1307, 1315 (11th Cir. 1990). The party filing

           objections will be responsible for obtaining and filing the transcript of any evidentiary




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           hearing for review by the District Court. Failure to object in accordance with this rule

           waives a party’s right to review. FED. R. CRIM. P. 59(b)(2).

                 Pursuant    to   18    U.S.C.    §   3161(h)(1)(H),      the   above-referenced

           fourteen (14) days allowed for filing objections is EXCLUDED from the

           computation of time under the Speedy Trial Act (“the Act”), whether or not

           objections are actually filed. If objections to this R&R are filed, the Clerk is

           DIRECTED to EXCLUDE from the computation of time all time between the filing

           of the R&R and the submission of the R&R, along with any objections, responses and

           replies thereto, to the District Judge. 18 U.S.C. § 3161(h)(1)(D), (H); Henderson v.

           United States, 476 U.S. 321, 331 (1986); United States v. Mers, 701 F.2d 1321, 1337

           (11th Cir. 1983). The Clerk is DIRECTED to submit the R&R with objections, if any,

           to the District Court after expiration of the above time period.

                 IT IS SO ORDERED and DIRECTED, this 2d day of February , 2012.




                                                   ALAN J. BAVERMAN
                                                   UNITED STATES MAGISTRATE JUDGE




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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           UNITED STATES OF AMERICA :
                                    :
                    v.              :                   CRIMINAL ACTION FILE
                                    :
           NIGEL EDWARDS,           :                   NO. 1:10-CR-521-07-TCB/AJB
                                    :
                        Defendant.  :

                             UNITED STATES MAGISTRATE JUDGE’S
                            FINAL REPORT AND RECOMMENDATION

                 Currently before the Court is Defendant Nigel Edwards’s “Motion to Suppress

           Intercepted Communications Pursuant to Title III” (“motion to suppress”). [Doc. 152].

           For the reasons below, the undersigned RECOMMENDS that Edwards’s request for

           an evidentiary hearing be DENIED, and that his motion to suppress be DENIED as to

           Target Telephone 3, DENIED AS WITHDRAWN as to Target Telephone 8, and

           DENIED as to Target Telephone 9. [Doc. 152].

           I.    Target Telephone 3 – Necessity Requirement

                 A.    Facts

                 In his affidavit in support of a second extension application for a wiretap for

           Target Telephones 3 (“TT3”) and 4 in this case, Special Agent (“SA”) Dixon of the

           Drug Enforcement Administration (“DEA”) discussed among other things the



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           investigation’s objectives, prior wiretap applications, the basis for probable cause, the

           continued use of the target telephones, the need for wiretap interceptions, and the utility

           of alternative investigative techniques. (SA Dixon’s May 26, 2010, Second Extension

           Aff. (“SA Dixon’s Aff.”) passim).

                 According to SA Dixon, the goal of the investigation was to “disrupt and

           dismantle the instant drug trafficking organization” (“DTO”). (Id. at 9). He noted four

           previous wiretap applications and orders, dated February 17, March 29, April 16,

           and April 28, 2010, with only the latter two pertaining to Target Telephone 3.

           (Id. at 10-11).

                 With respect to probable cause, SA Dixon noted that the DEA was investigating

           an Atlanta-based DTO that was believed to be responsible for importing and

           distributing large amounts of marijuana and MDMA from Jamaica into the Atlanta

           metropolitan area. (Id. at 12). SA Dixon discussed an investigation by the Department

           of Homeland Security of a Customs and Border Protection officer believed to have used

           his law-enforcement position to facilitate the drug-trafficking activities of the named

           interceptees, including Edwards. (Id.).




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                 As part of his affidavit, SA Dixon also discussed three intercepted calls on Target

           Telephone 3 (“TT3”) that had been obtained following the issuance of the first

           continuation order. (Id. at 14-15).

                 Finally, SA Dixon discussed the need for the wiretap interceptions and the utility

           of alternative investigative techniques. SA Dixon noted the following: (1) although

           agents had identified certain residences associated with members of the DTO, agents

           had not been able to determine how those locations were utilized; (2) simply arresting

           the named interceptees against whom a prosecutable case could be made would likely

           only cause a short delay in distribution, as sources of supply and managers of the DTO

           would likely find a new local distribution cell; (3) the goal of the investigation was not

           only to build a prosecutable case against members of the DTO in Atlanta but also those

           members in other parts of the United States and potentially Jamaica; and (4) the

           interceptions should provide critical information regarding the individuals and methods

           of the DTO. (Id. at 17-18). SA Dixon then explained at length why toll and cell-site

           information; physical surveillance; grand-jury subpoenas; use of confidential

           informants, cooperating sources, and undercover agents; consensual monitoring;

           interviewing witnesses or the named interceptees; use of search warrants, consent




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           searches, and trash pulls; and seizures and arrests would not be appropriate or adequate

           to achieve the goals of the investigation. (Id. at 21-44).

                 B.     Arguments of the Parties

                 In his opening brief, Edwards first notes that in United States. v. Giordano,

           416 U.S. 505 (1974), the Supreme Court acknowledged the additional showing required

           for extension applications by 18 U.S.C. § 2518(1)(f): “a statement setting forth the

           results thus far obtained from the interception, or a reasonable explanation of the failure

           to obtain such results.” [Doc. 152 at 5]. Second, Edwards contends that rather than

           explaining why the continuation of the wiretap was necessary, SA Dixon merely

           copied, pasted, and reorganized into his affidavit the paragraphs from other agents’

           affidavits submitted with previous applications for wiretaps, and that there is no

           additional information as to why the second continuation for TT3 is necessary to the

           investigation. [Id. at 6]. Third, according to Edwards, in other sections of SA Dixon’s

           affidavit, he accurately recites details of three conversations, but he fails to explain why

           the contents of the other 2,983 sessions provided no relevant information or why

           additional information would be obtained during the extension. [Id.]. Fourth, Edwards

           argues that while the government attempts to skirt the necessity requirement by simply

           noting the agents’ conclusions regarding whether traditional investigative techniques

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           will suffice to expose the crime, the requisite necessity cannot be shown by conclusory

           statements that normal techniques would not be productive – the affiant cannot rely on

           boilerplate recitations of difficulties gathering evidence in place of specific factual

           allegations explaining why a normal investigation would not succeed. [Id. at 6-7].

           Finally, Edwards observes that because the application process for a wiretap is non-

           adversarial, this is the first opportunity to challenge the application. [Id. at 7]. Edwards

           notes that when Judge Batten originally granted the extension, he had no one to point

           out the cut-and-paste nature of the applications and that the three calls represented less

           than .01 percent of all calls on the wiretap. [Id.].

                 In response, the government first contends that SA Dixon detailed efforts made

           in the investigation, the inability to utilize certain methods, the impractical nature of

           such methods, and the difficulties inherent in this and similar investigations based in

           part on the affiant’s own experience and training, and that of other investigators in this

           case. [Doc. 257 at 8]. Second, the government observes that Edwards relies almost

           exclusively on contentions that the agents relied on prior wiretap affidavits – using cut-

           and-paste, boilerplate assertions – without considering any other traditional

           investigative techniques, yet recurring facts and problems encountered during an

           investigation and repeated in various affidavits do not constitute “boilerplate” language.

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           [Id. at 9-10]. The government acknowledges that all of the Title III affidavits contain

           investigative facts that are general to this investigation and that are repeated in the

           fourteen affidavits, but it contends that the affidavit for the second extension also

           contains specific and particular facts to establish necessity at that stage of the

           investigation. [Id. at 10].

                 Third, the government contends that Edwards’s assertions ignore the facts that

           are updated within the second extension affidavit. [Id. at 10]. The government notes

           the goals of the investigation as explained by SA Dixon, stating that these provide an

           important context for this Court’s examination of the necessity issue because the

           investigation was much broader and ambitious than simply building a case against

           Edwards; rather, it was designed to reach to higher-level DTO members and spread out

           into diverse local channels of distribution, much of which was not known to the agents

           as of the date of the second extension affidavit. [Id. at 10-12]. The government notes

           that the Eleventh Circuit and other circuit courts have considered such circumstances

           when examining a challenge to a showing of necessity. [Id. at 12-13 (citing cases)].

                 Fourth, the government explains that SA Dixon described other investigative

           techniques that were considered but not used because they would not result in fruitful

           information, and many of these assertions were the same throughout the investigation

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           because the issues remained. [Id. at 14]. The government notes that as of the date of

           the second extension, many of the associates involved in the drug-related activities had

           not been identified, so there were no witnesses to call into the grand jury, nor were

           there potential cooperators (apart from historical ones) specific to the DTO. [Id.].

           Further, the government observes that SA Dixon noted that to approach witnesses at

           that juncture or conduct searches of the locations would alert the organization while

           only providing limited information. [Id.].

                 Fifth, the government responds to Edwards’s assertions regarding “boilerplate”

           statements by noting that facts supporting the conclusion that alternative methods

           would be less than effective in such large drug organizations would repeat themselves,

           thus forming the basis of the necessity of the wiretap. [Id. at 14-15].

                 Sixth, the government explains how the second extension affidavit is different

           from previous affidavits, contending that Edwards’s arguments overlook these

           differences and the resulting effects on the necessity analysis. [Id. at 15-16]. The

           government notes that while some of the techniques described provided information

           regarding certain associates, the techniques and the information gleaned therefrom did

           not meet the goals of the investigation. [Id. at 16].




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                 Seventh, in response to Edwards’s assertions that traditional investigative

           techniques had been successful and were therefore not exhausted, and that the goals of

           the investigation had been met and therefore were was no necessity to continue

           monitoring TT3, the government contends that all three of the affidavits for TT3 set out

           independently and in great detail the necessity for TT3 at the relevant time; the goals

           of the investigation, which had yet to be attained; the steps taken towards reaching

           those goals; the reasonable, good-faith efforts made to attain the goals; and the

           continuing necessity to seek authorization for TT3. [Id.].

                 Lastly, the government contends that even if the District Judge did not have a

           substantial basis to find necessity for the wiretap order, suppression of the evidence is

           not an appropriate remedy because the agents had a good-faith basis to believe the

           orders were valid. [Id. at 17]. The government asserts that the good-faith doctrine used

           in the Fourth Amendment context also applies to wiretap orders, [id. (citing United

           States v. Malekzadeh, 855 F.2d 1492, 1497 (11th Cir. 1988))], and Edwards has not

           argued that the agents who initiated the wiretap did not have a good-faith basis for

           believing that the underlying wiretap order was valid, [Doc. 257 at 18]. To the

           contrary, according to the government, the record establishes that the agents reasonably

           held such a belief, given the detailed affidavit presented. [Id.]. The government further

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           observes that while Edwards mentioned that Judge Batten was not made aware of the

           “cut and paste nature of the applications, and [had] no one to argue that the three calls

           represented less than .01 percent of all calls on the wiretap,” Edwards has failed to

           establish that the affidavit contained inaccurate information or that any information was

           improperly withheld from the reviewing judge. [Id.].

                 In reply, Edwards first contends that each extension application (or supporting

           affidavit) must not only explain why the wiretap investigation was necessary in the first

           instance but also why the earlier wiretaps did not yield the expected results, yet the

           government has not addressed this additional level of necessity. [Doc. 265 at 3].

           Instead, according to Edwards, the government cites to two paragraphs contained in the

           original affidavit as fulfilling the requirement and spends the rest of the response

           discussing why other investigative techniques failed. [Id.]. Edwards contends that

           because the government failed to answer this question and provide any reason for the

           necessity of the third extensions, it should be suppressed. [Id.].

                 Second, Edwards argues that while the government’s brief implies that Edwards

           has the burden to show that the agents acted in bad faith, it is instead the government’s

           burden to present facts allowing the Court to apply the good-faith exception, yet here,

           the government’s sole argument was that the agents must have been acting in good faith

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           because they had a valid court order. [Id. at 3-4]. According to Edwards, this is

           circular logic because if applied in this manner the exception would swallow the rule:

           necessity would not truly be required because a wiretap could never be suppressed

           where an officer was executing a valid court order. [Id. at 4]. Further, Edwards

           emphasizes that the Supreme Court has stated in three cases that suppression is required

           where there is a failure to satisfy the statutory requirements of Title III. [Id.]. Because

           the statutory requirement of necessity was not met, states Edwards, the second

           extension for TT3 should be suppressed. [Id.].

                 C.     Applicable Law

                 Title III of The Omnibus Crime Control and Safe Streets Act of 1968,

           18 U.S.C. §§ 2510-2520, sets forth numerous requirements the government must meet

           before electronic surveillance (wiretaps) may be authorized, including the requirements

           for a wiretap application, 18 U.S.C. § 2518(1), the findings the district court must

           make, 18 U.S.C. § 2518(3), and requirements for the district court’s authorization order,

           18 U.S.C. § 2518(4). Title III contains its own exclusionary rule under which the

           defendant has standing to challenge the surveillance. 18 U.S.C. § 2518(10).

                 An “application must include a full and complete statement of the facts and

           circumstances . . . including (i) details as to the particular offense that has been, is

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           being, or is about to be committed.” 18 U.S.C. § 2518(1)(b)(i). Thus, an application

           for a wiretap authorization must be supported by the same probable cause necessary for

           a search warrant. United States v. Nixon, 918 F.2d 895, 900 (11th Cir. 1990); see also

           United States v. Gonzalez-Perez, 283 Fed. Appx. 716, 721 (11th Cir. June 24, 2008).

           The issuing judge is to make a “practical, common-sense decision” about whether the

           “totality of the circumstances” indicate that there is probable cause that the sought-for

           evidence will be obtained. Illinois v. Gates, 462 U.S. 213, 238 (1983). A reviewing

           court is “simply to ensure that the [judge] had a ‘substantial basis for. . . conclud[ing]’

           that probable cause existed.” Id. at 238-39 (citation omitted). The practical nature of

           the issuing judges’ decision justifies “great deference” upon review and calls for

           upholding those findings even in marginal or doubtful cases. Nixon, 918 F.2d at 900;

           United States v. Lockett, 674 F.2d 843, 845 (11th Cir. 1982). Like other types of

           warrants, probable cause must exist at the time surveillance is authorized. United States

           v. Domme, 753 F.2d 950, 953 (11th Cir. 1985).

                 An application for interception also must contain a full and complete statement

           as to whether other investigative procedures have been tried and have failed or why

           they reasonably appear to be unlikely to succeed if tried or to be too dangerous.

           18 U.S.C. § 2518(1)(c); United States v. Van Horn, 789 F.2d 1492, 1496 (11th Cir.

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           1986). “Full and complete” means a description with specificity as to why in this

           particular investigation ordinary means of investigation would fail or are too dangerous.

           United States v. Weber, 808 F.2d 1422 (11th Cir. 1987). The necessity requirement is

           designed to ensure that electronic surveillance is neither routinely employed nor used

           when less intrusive techniques will succeed. Giordano, 416 U.S. at 515; United States

           v. Kahn, 415 U.S. 143, 153, n.12 (1974). The affidavit need not, however, show a

           comprehensive exhaustion of all possible techniques, but must simply explain the

           retroactive or prospective failure of several investigative techniques that reasonably

           suggest themselves. Van Horn, 789 F.2d at 1496; United States v. Alonso, 740 F.2d

           862, 868 (11th Cir. 1984); United States v. Hyde, 574 F.2d 856, 867 (5th Cir. 1978); see

           also United States v. Perez, 661 F.3d 568, 581 (11th Cir. 2011) (“The ‘necessity’

           requirement in § 2518 ensures that law enforcement does not use electronic surveillance

           when less intrusive methods will suffice.”); United States v. Allen, 416 Fed. Appx. 21,

           26 (11th Cir. Jan. 31, 2011) (“The statute authorizing wiretaps is not intended ‘to be

           routinely employed as the initial step in a criminal investigation,’ . . . but rather, it is

           designed to ensure that electronic surveillance is neither routinely employed nor used

           when less intrusive techniques will succeed.”) (citation omitted). This does not,

           however, mean that the statute requires ‘a comprehensive exhaustion of all possible

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           techniques, but must simply explain the retroactive or prospective failure of several

           investigative techniques that reasonably suggest themselves.’ United States v. Van

           Horn, 789 F.2d 1492, 1496 (11th Cir. 1986).”). “Section 2518 does not ‘foreclose

           electronic surveillance until every other imaginable method of investigation has been

           unsuccessfully attempted,’ ” Perez, 661 F.3d at 581 (quoting Alonso, 740 F.2d at 868,

           and Hyde, 574 F.2d at 867. However, the Government is required to show why

           alternative measures are inadequate for “ ‘this particular investigation.’ ” Perez, id.

           (quoting United States v. Carrazana, 921 F.2d 1557, 1565 (11th Cir. 1991), and United

           States v. Ippolito, 774 F.2d 1482, 1486 (9th Cir. 1985)). The partial success of

           alternative investigative measures, however, does not necessarily render electronic

           surveillance unnecessary.    Perez, 661 F.3d at 581-82 (citing United States v.

           Fernandez, 388 F.3d 1199, 1236–37 (9th Cir. 2004), which concluded that government

           met “necessity” requirement despite “two confidential informants . . . [who] were able

           to provide significant information”); see also United States v. De La Cruz Suarez,

           601 F.3d 1210, 1214 n.7 (11th Cir. 2010) (finding that the “necessity” requirement was

           met despite government’s use of confidential informants and consensual monitoring).




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                  Finally, the good-faith exception to the exclusionary rule applies to

           considerations of wiretap warrants. See Malekzadeh, 855 F.2d at 1497.1

                  D.     Analysis

                  The undersigned concludes that these requirements have been satisfied here.

           SA Dixon’s affidavit for the second extension adequately discusses the need for the

           interception and explains why some alternative techniques would be not appropriate in

           this investigation. (SA Dixon’s Aff. ¶¶ 26-29, 35-78). Notably, Edwards does not

           appear to contest the probable-cause basis for the interception, [see Doc. 152 at 5-7],

           nor does he appear to contest the sufficiency of the affidavit’s explanation of the lack

           of utility of alternative techniques, apart from an assertion that much of the language

           in the affidavit is copy-pasted from earlier affidavits, [id. at 6-7], which is not an attack

           on accuracy of the statements themselves.

                  Rather, Edwards’s primary objection appears to be what he believes to be a

           failure to satisfy the statutory requirements of Title III, which he says mandates

           suppression under Giordano. Specifically, he contends that the government has failed

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                          Because Edwards does not contest that the Eleventh Circuit has applied
           the good-faith exception to wiretaps, [see Doc. 265 at 11], the undersigned need not
           address Edwards arguments that it is inappropriate to apply the good-faith exception
           to Title III, [see id. at 10-13], given that it invites the undersigned to ignore binding
           Eleventh Circuit precedent interpreting Supreme Court precedent and Title III.

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           to satisfy § 2518(1)(f), which requires “a statement setting forth the results thus far

           obtained from the interception, or a reasonable explanation of the failure to obtain such

           results,” 18 U.S.C. § 2518(1)(f). [Doc. 152 at 5-7; Doc. 265 at 2-3]. Unhelpfully, the

           government does not address this provision in its response, [see Doc. 257], but it is not

           clear how § 2518(1)(f) is not satisfied by SA Dixon’s affidavit. The statute is written

           in the disjunctive: the government must either set forth “the results thus far obtained

           from the interception,” or the government must provide “a reasonable explanation of

           the failure to obtain such results.” 18 U.S.C. § 2518(1)(f). Here, SA Dixon’s affidavit

           discusses three calls that were intercepted on TT3 between the filing of the first

           extension affidavit (from Task Force Officer Gordon) and the affidavit at issue in this

           motion (SA Dixon’s affidavit). (See SA Dixon’s Aff. ¶¶ 18-20). Because the

           government set forth these results, it was not required to explain its failure to obtain any

           other results. It may not have obtained the results it desired, but that is the very basis

           for the extension, and the affidavit explains the reasons why the information is needed.

           Cf. United States v. Swinburne, 988 F.2d 125 (9th Cir. 1993) (Table) (finding

           compliance with § 2518(1)(f) where extension affidavit noted results achieved through

           prior interceptions).




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                 As noted above and asserted vigorously by Edwards, many of the statements

           from the second extension affidavit are identical to those from the first extension

           affidavit, but that simply suggests that problems posed earlier in the investigation

           remain true, and Edwards has made no showing that these representations are

           inaccurate or were recklessly made. Under these circumstances, and given the lack of

           any probable-cause challenge, the undersigned finds that Edwards has not established

           grounds to suppress the intercepts on TT3.               The undersigned therefore

           RECOMMENDS that Edwards’s motion to suppress be DENIED with respect to

           Target Telephone 3.

                 Even were the undersigned to conclude, despite Edwards not so contending, that

           there was no substantial basis for concluding that probable cause existed, the

           undersigned would nevertheless find that the good-faith exception applied. Pursuant

           to the good-faith exception, “courts generally should not render inadmissible evidence

           obtained by police officers acting in reasonable reliance upon a search warrant that is

           ultimately found to be unsupported by probable cause. United States v. Martin,

           297 F.3d 1308, 1313 (11th Cir. 2002) (citing United States v. Leon, 468 U.S. 897, 922

           (1984)). This good-faith exception applies in all but four circumstances: (1) “where the

           magistrate or judge in issuing a warrant was misled by information in an affidavit that

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           the affiant knew was false or would have known was false except for his reckless

           disregard of the truth”; (2) “where the issuing magistrate wholly abandoned his judicial

           role”; (3) “where the affidavit supporting the warrant is so lacking in indicia of

           probable cause as to render official belief in its existence entirely unreasonable”; and

           (4) “where, depending upon the circumstances of the particular case, a warrant is so

           facially deficient – i.e., in failing to particularize the place to be searched or the things

           to be seized – that the executing officers cannot reasonably presume it to be valid.”

           Martin, id. (citation and internal quotation marks omitted). None of these appears to

           apply here, and therefore the good-faith exception would apply to TT3 even in the

           event that the Court concluded that there was no substantial basis for the issuing judge

           to conclude that probable cause existed.2

           II.    Target Telephone 8 – Sealing Requirement

                  The undersigned need not discuss the arguments of the parties regarding Target

           Telephone 8: in his reply brief, Edwards withdraws his challenge to the wiretap on


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                       Edwards contends that if the good-faith exception were to apply here
           because of a valid court order, the exception would swallow the rule, and necessity
           would never be required because a wiretap could never be suppressed where an officer
           was executing a valid court order. [Doc. 265 at 3-4]. Whatever the merits of this
           argument, the Court is not permitted to ignore Eleventh Circuit precedent dictating the
           circumstances in which the good-faith exception does not apply.

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           Target Telephone 8 for sealing violations. [Doc. 265 at 5]. The undersigned therefore

           RECOMMENDS that Edwards’s motion to suppress with respect to Target

           Telephone 8 be DENIED AS WITHDRAWN.

           III.   Target Telephone 9 – Minimization Requirement

                  A.    Arguments of the Parties

                  In his motion to suppress, Edwards first notes the government’s burden of

           showing that it conducted the electronic surveillance “in such a way as to minimize the

           interception of communications not otherwise subject to interception.” [Doc. 152 at 10

           (quoting 18 U.S.C. 2518(5))]. Edwards then observes that the summary detail line

           sheet provided by the government show that out of 6,192 sessions, 3,606 calls were

           completed, only 1,547 were pertinent, and only 45 calls were minimized – or 1.2% of

           all calls – leaving 2,014 calls that were deemed irrelevant but nevertheless listened to

           by agents. [Doc. 152 at 11]. Edwards lists 23 of these calls (and attaches them as

           Exhibit C) that lasted over two minutes but that were not pertinent and were not

           minimized. [Id.]. According to Edwards, the government’s normal response would be

           that agents need to listen to these calls to determine the code words that a particular

           drug organization is using, but this wiretap was the fourteenth wiretap in the

           investigation, so the agents had many months to develop an understanding of the code

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           used, and thus the agents’ failure to minimize and spot-check these calls was an

           invasion of Edwards’s right to privacy. [Id. at 11-12]. Edwards argues that because

           98.8% of the calls were not minimized or spot-checked, and because calls labeled non-

           pertinent were listened to in their entirety, there can be no rational argument that the

           government has met their minimization burden, and thus the contents of the wiretap on

           Target Telephone 9 (“TT9”) should be suppressed. [Id. at 12].

                 In response, the government first contends that a court will identify a

           minimization claim if: (1) the supervising attorney circulates a memorandum fully

           setting forth instructions that were consistent with minimization requirements,

           (2) the attorney holds a meeting with the monitors to orally discuss minimization

           procedures and rules, (3) the attorney submits a progress report to the court that

           includes information about minimization of telephone calls; and (4) the agents use the

           “two minutes up/one minute down” minimization technique recommended by the

           Department of Justice Manual. [Doc. 257 at 23 (citing Malekzadeh, 855 F.2d at 1495;

           United States v. Smith, 909 F.2d 1164, 1166 (8th Cir. 1990); United States v. Daly,

           535 F.2d 434, 441-42 (8th Cir. 1976))]. According to the government, all of this was

           done: agents were instructed, both orally and in writing, on the process of minimization

           prior to intercepting any calls; agents were instructed on and used the two-minutes-up,

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           one-minute-down procedure; and the government provided a fifteen-day report

           updating the Court on the progress of the interception and investigation, including a

           print-out of the call categorization. [Doc. 257 at 24]. The government also contends

           that the agents showed a high regard for the privacy of the interceptees. [Id.].

                 Second, the government observes that the interception of TT9 came about six

           months after the authorization for the first wiretap, and it was only the seventh wiretap

           in a total of fourteen authorized wiretaps. [Id. at 24-25]. Third, the government notes

           that TT9 was a push-to-talk phone, which inflates the number of calls intercepted

           because a push-to-talk “conversation” is actually made up of numerous sessions, each

           of which is registered as a separate call. [Id. at 25].

                 Fourth, the government disputes Edwards’s “math” with respect to the minimized

           calls. [Id. at 25-26]. Specifically, with respect to Edwards’s claim that only 1.2% of

           the calls intercepted for TT9 were minimized, the government states the following:

           (1) of the 6,192 calls, 5,922 calls were two minutes or less, representing 95% of the

           total calls; (2) “the instructions, case law, and the reality of interception” dictate that

           calls that are two minutes or less are generally not long enough to minimize (citing De

           La Cruz Suarez, 601 F.3d at 1215); (3) after 30 days, only 83 calls that were over two

           minutes were not minimized, meaning 0.01% of the total calls may not have been

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           properly minimized; and (4) only 333 calls were over two minutes (5% of the total

           calls), and 250 were deemed pertinent, leaving the 83 calls that were over two minutes

           and not minimized. [Doc. 257 at 25-26]. The government contends that in reviewing

           the list of calls cited by Edwards in his brief, there are numerous explanations as to why

           a call was not minimized: some were discussing drug-related assets, and others

           appeared to be discussing drug-related activity. [Id. at 26 (citing the 23 calls cited by

           Edwards)]. The government states further that for almost all of these calls, the

           agents/monitors were required to listen to the call in its entirety before they could

           determine its status. [Id.].

                 Finally, the government argues that if there are instances of improper

           suppression, the remedy is suppression of the call that should have been minimized, not

           all of the calls that were intercepted. [Id. at 26-27 (citing cases from the First, Second,

           and Eighth Circuits)]. The government contends that Edwards cannot show bad faith

           on the part of the agents and monitors in their minimization practices, and thus the

           motion should be denied. [Id. at 27].

                 In reply, Edwards first contends that the government misstates the applicable

           law. [Doc. 265 at 5-8]. Edwards quotes the government’s four-factor test for denying

           a minimization claim and states that the cases cited by the government – Malekzadeh

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           (11th Cir.), Smith (8th Cir.), and Daly (8th Cir.) – do not support the government’s point.

           [Doc. 265 at 5-8]. According to Edwards, Malekzadeh was essentially about the marital

           privilege, not minimization, and no reference was made to any of the factors mentioned

           by the government. [Id. at 6]. Next, Edwards addresses the Smith case, saying that the

           court there found that Smith’s assertions that the call should have been minimized was

           wrong based on the reasonableness of the officers’ actions, not the fact that a

           memorandum was issued regarding minimization guidelines, as the government in this

           case suggests. [Id. at 6-7]. Lastly with respect to this first issue, Edwards states that

           Daly does not stand for the notion that minimization is met where judicial supervision

           is present, but rather that courts have been more willing to find that monitors engaged

           in good-faith minimization where a judge has required interim reports showing what

           progress has been made with respect to a wiretap. [Id. at 7-8]. Edwards states that the

           Daly Court used a reasonableness standard, a standard that encompasses several factors,

           including the scope of the enterprise, the government’s reasonable expectation of the

           calls’ content, and the continued judicial supervision of the authorizing

           judge. [Id. at 7].

                 Second, Edwards argues in his reply that the government failed to prove that the

           interception of over 23 non-pertinent calls lasting longer than two minutes was

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           reasonable. [Id. at 8-9]. According to Edwards, the government contended that there

           “are numerous explanations” but failed to identify any of them, meaning there is no

           way to know whether it was reasonable that they were not minimized. [Id. at 8].

           Edwards further states that the assertion that the agents needed to listen to the calls in

           their entirety to determine their pertinency directly contradicts the two-minutes-up, one-

           minute-down technique. [Id.]. In sum, Edwards states that the government has failed

           to prove compliance with the minimization requirements, and that the government’s

           misstatement of law and broad statement that “there are numerous explanations” does

           not meet this burden. [Id. at 9].

                 Third, Edwards argues that the appropriate remedy for failure to properly

           minimize is suppression of the entire wiretap. [Id. at 9-10]. In particular, he states that

           the government’s suggestion to suppress only those calls that are non-incriminating

           would afford a defendant no real remedy because only those conversations that the

           prosecutor had no intention of using against him would be suppressed, which would

           also serve to strip the minimizing provision of all deterrent effect, eliminating the

           protections that Congress instituted and making Title III unconstitutional. [Id. at 9-10

           (citing United States v. Focarile, 340 F. Supp. 1033, 1046 (D. Md. 1972); United States




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           v. Giordano, 469 F.2d 522 (4th Cir. 1972), rev’d on other grounds, 416 U.S. 505 (1974),

           quoted with approval in United States Principie, 531 F.2d 1132, 1140 (2d Cir. 1976))].

                 B.       Applicable Law

                 Electronic surveillance must be conducted in such a way so as to minimize the

           interception    of   communications     not     otherwise   subject   to   interception.

           18 U.S.C. § 2518(5). In considering challenges to the government’s minimization, the

           court must make an objective assessment of the monitoring agents’ actions in light of

           the facts and circumstances confronting them at the time. Scott v. United States,

           436 U.S. 128 (1978). The wiretap statute does not prohibit the interception of all non-

           relevant conversations, but rather instructs law enforcement to conduct the surveillance

           in such a manner as to minimize the interception of such conversations. The standard

           is one of reasonableness.        United States v. Moody, 977 F.2d 1425, 1433

           (11th Cir. 1992).3 Conversations lasting less than two minutes are considered too brief

           “to identify the caller and characterize the conversation as merely social or possibly

           tainted.” De La Cruz Suarez, 601 F.3d at 1215 (quoting United States v. Bynum,

           485 F.2d 490, 500 (2d Cir. 1973)).

                 3
                        The undersigned agrees with Edwards, [Doc. 265 at 5-6], that it is not clear
           from where the government derives its four-factor test regarding minimization claims.
           The cases cited do not appear to support the government’s test as stated.

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                  C.     Analysis

                  The motion to suppress with respect to TT9 should be denied. Because of

           Eleventh Circuit precedent indicating that calls lasting fewer than two minutes are too

           brief “to identify the caller and characterize the conversation as merely social or

           possibly tainted,” De La Cruz Suarez, 601 F.3d at 1215 – the implication being that

           such calls do not generally need to be minimized – the vast majority of the 6,192

           sessions need not be discussed with respect to minimization.          For this reason,

           Edwards’s complaint that 98.8% of the calls were not minimized is not particularly

           relevant, by itself. See id. (“Evidence that a small number of calls were minimized does

           not, by itself, indicate that the minimization procedures used by the government were

           unreasonable.”). In light of De La Cruz Suarez, it is perhaps no surprise that Edwards

           ultimately focuses predominantly on 23 calls lasting over two minutes that were not

           pertinent and not minimized. [See Doc. 152 at 11]. The undersigned therefore turns

           to those calls.

                  The undersigned concludes that the government acted reasonably to minimize

           the number of innocent conversations monitored. The agents and monitors were

           instructed on minimization procedures, (see Govt. Exhibit, “Instructions for Wire

           Interception”), including instructions encompassing the two-minutes-up, one-minute

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           down procedure, (see id. ¶ 12). Further, the government provided to the Court a report

           on intercepted calls covering the first fifteen days of the thirty-day period of

           interception, (see Govt. Exhibit, “Fifteen-Day Report to the Court”), a factor that the

           Eighth Circuit in Daly found relevant to the reasonableness analysis, 535 F.2d at 441-

           42, cited in United States v. Yarbrough, 527 F.3d 1092, 1098 (10th Cir. 2008), as

           Edwards notes, [Doc. 265 at 7-8]. Regardless of the role the fifteen-day report fits into

           the reasonableness analysis, however, the undersigned concludes that the minimization

           instructions and the calls themselves suggest that a finding of a failure to minimize is

           unwarranted here. The undersigned has reviewed the line sheet summaries of the calls,

           has listened to portions of each of the 23 calls cited, and has determined that while

           some of them could reasonably have been ended earlier, many of them would have

           required a substantial amount of time to determine their pertinency.4 Stated another

           way, the government was not unambiguously correct in stating that “almost all” of the

           calls required the agents or monitors to listen to the call in its entirety before

           determinating its pertinency, [Doc. 257 at 26], but the government was certainly right

           that many of the calls initially appeared to concern drug-related activity or assets, [id.].

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                        The undersigned notes that the apparently push-to-talk nature of most of
           the calls – resulting in longer periods of silence than would exist in a standard
           telephone conversation – also contributed to their length.

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           While the undersigned believes that it would not have been necessary for the agents or

           monitors to listen to the entirety of all the calls, this does not compel a conclusion that

           there was a failure to minimize. See United States v. Ortega-Estrada, Criminal File

           No. 1:07-CR-356-TWT, 2008 WL 4716949, at *9 (N.D. Ga. Oct. 22, 2008) (Thrash, J.,

           adopting Hagy, J.) (“[A] determination of whether minimization requirements were met

           requires a reasonableness determination not just with respect to one particular call, but

           to the conduct of the entire wiretap in question. If, with hindsight, a court may think

           that some intercepts may have gone on longer than necessary, that would not be

           conclusive. The statute does not make unlawful the interception of any innocent calls,

           it only instructs that the Government act reasonably to minimize the number of

           innocent conversations that are monitored.”); see also United States v. Cox, 462 F.2d

           1293, 1300-1301 (8th Cir. 1972) (“[W]here, as here, the investigation is of an organized

           criminal conspiracy conversing in a colloquial code, surveillance of most of the

           telephone calls . . . does not constitute failure to minimize simply because in retrospect

           it can be seen that a substantial portion of them had no evidentiary or investigative

           value.”) (first alteration added), cited in Ortega-Estrada, id.




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                 For all these reasons, the undersigned concludes that no failure to minimize

           occurred. The undersigned therefore RECOMMENDS that Edwards’s motion to

           suppress be DENIED with respect to Target Telephone 9.

           V.    Edwards’s Request for a Hearing

                 In the prayer for relief of his motion to suppress, Edwards requests an evidentiary

           hearing on the motion. [Doc. 152 at 12]. The government opposes the request, stating

           that the affidavits and evidence before the Court are sufficient on their face to permit

           the Court to rule on the motion. [Doc. 257 at 27-28]. As the government notes, [id.

           at 27], “the court has discretion in determining the need for a hearing,” United States

           v. Richardson, 764 F.2d 1514, 1527 (11th Cir. 1985). The undersigned concludes that

           an evidentiary hearing on this motion would serve no useful purpose because, for the

           reasons outlined in the discussion above, Edwards’s arguments are without merit. The

           undersigned therefore RECOMMENDS that the District Court DECLINE to grant an

           evidentiary hearing.

           VI.   Conclusion

                 For the reasons above, the undersigned RECOMMENDS that Edwards’s request

           for an evidentiary hearing be DENIED, and that his motion to suppress be DENIED




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           as to Target Telephone 3, DENIED AS WITHDRAWN as to Target Telephone 8, and

           DENIED as to Target Telephone 9. [Doc. 152].

                 The Court has now ruled on all of this defendant’s pretrial motions. As a result,

           the case is CERTIFIED READY FOR TRIAL AS TO THIS DEFENDANT.

                 IT IS SO RECOMMENDED, ORDERED and CERTIFIED, this the 2d day

           of February, 2012.




                                                  ALAN J. BAVERMAN
                                                  UNITED STATES MAGISTRATE JUDGE




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